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                       EXHIBIT B
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  WHO'S LEAKING TESLA SECRETS? ELON MUSK CLAIMS EMPLOYEE
  SABOTAGED COMPANY
  BY JASON MURDOCK ON 6/19/18 AT 5:05 AM
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  TECH & SCIENCE




B     illionaire technologist Elon Musk sent an email to Tesla staffers late on Sunday night
      revealing that a "quite extensive and damaging" sabotage operation had been uncovered
inside the electric car company, with large amounts of highly-sensitive data being exported to
“unknown third parties.”

The culprit, whose identity remains unknown, allegedly admitted to making “direct code
changes to the Tesla Manufacturing Operating System under false usernames,” Musk, the
company founder, wrote in the email, titled “Some concerning news,” which was obtained by
CNBC. The saboteur was reportedly angered after failing to get a promotion at the firm, which
is currently laying off around 9 percent of staff.

“The full extent of his actions are not yet clear, but what he has admitted to so far is pretty
bad,” Musk, who also runs SpaceX, wrote. “His stated motivation is that he wanted a
promotion that he did not receive. In light of these actions, not promoting him was definitely the
right move.” Musk said the investigation will continue in an attempt to find out if he was acting
alone, or with other people.

Tesla did not respond to request for comment from Newsweek.



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  A sign is seen outside Tesla Motors' new showroom in Manhattan's Meatpacking District in New York City, U.S.,
  December 14, 2017.
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  REUTERS/BRENDAN MCDERMID/FILE PHOTO


On Monday, it emerged that a fire had been discovered in a Fremont, California-based plant
the previous day, forcing production to stall. Tesla told CNBC it “was extinguished in a matter
of seconds” and “there were no injuries or significant equipment damage.” But in a separate
email to staff, sent just after 9:30 a.m. on June 18, Musk branded the event “another strange
incident that was hard to explain” and advised all staff to “be on the alert for anything not in the
best interests” of the company.

It remains unclear if the two events are linked, but Musk claimed in his Sunday email that there
“there are a long list of organizations that want Tesla to die.” He said these mysterious figures
may include Wall Street short-sellers, oil & gas companies and big gas/diesel car company
competitors.

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  Engineer and tech entrepreneur Elon Musk of The Boring Company listens as Chicago Mayor Rahm Emanuel talks
  about constructing a high-speed transit tunnel at Block 37 during a news conference on June 14 in Chicago, Illinois.
  JOSHUA LOTT/GETTY IMAGES


He wrote: “Most of the time, when there is theft of goods, leaking of confidential information,
dereliction of duty or outright sabotage, the reason really is something simple like wanting to
get back at someone within the company or at the company as a whole. Occasionally, it is
much more serious.”

Musk added that production on the Tesla Model 3 electric car will now be ramped up to 5,000 a
week. "This is when outside forces have the strongest motivation to stop us," he warned.
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   A 2018 Tesla Model 3 electric vehicle is shown in this photo illustration taken in Cardiff, California, U.S., June 1.
   REUTERS/MIKE BLAKE


On June 12, the founder, who recently took swipes at the mainstream media following negative
coverage of his business, confirmed via Twitter that thousands of jobs would be cut company-
wide in an attempt to boost profits. The move was described as a “comprehensive
organizational restructuring.”

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